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                         UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION


RENITA BELTON and MATTHEW
ERICKSON, individually and as Class
Representatives,
                                                            Civil Action File No.
        Plaintiffs,
                                                            1 :10-CV-0583-RWS
vs.


STATE OF GEORGIA, et a l.,


        Defe n dant s.


                                   CONSENT ORDER


I.      Introduction


        Plaintiffs Renita Belton and Matthew Erickson, on behalf of themselves and all

those similarly situated, brought this action pursuant to Title II of the Americans with

Disabilities Act ("ADA"), 42 U.S.C. § 12101 et seq., and Section 504 of the

Rehabilitation Act ("Section 504"), 29 U.S.C. § 701 et seq. (Compl., Dkt. [1].) The

Court certified the case as a class action. (Order, Dkt. [82] at 1.) Plaintiffs filed a Motion

for Summary Judgment seeking injunctive relief for themselves and the class on the issue

of Defendants' liability under Title II of the ADA and Section 504 (Dkt. [88]), which

summary judgment motion was granted in part. (Dkt. [115]). The Court appointed Roger

Williams to assist the Court and the parties in the development of a remedial order and

monitor implementation of that order. (Order, Dkt. [166].) The Court then entered a
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remedial Order. (Dkt. [172]). Defendants filed a Notice of Appeal of the order granting

class certification, the order granting partial summary judgment and the remedial order.

(Dkt. [185].) Defendants' appeal was argued before the United States District Court for

the Eleventh Circuit. The Eleventh Circuit subsequently entered an order referring the

appeal to mediation. (Case No. 13-13316, Order of April 11, 2014.)

        The parties engaged in lengthy negotiations, discussions, and several mediation

sessions. Monitor Williams participated in those mediation sessions and other related

discussions. While Defendants deny liability, the present consent order is a result of that

mediation process and resolves Plaintiffs' claims for injunctive relief, individually and on

behalf of the class, against Commissioner Frank Berry, in his official capacity as

Commissioner of the Georgia Department of Behavioral Health and Developmental

Disabilities. The consent order does not resolve or address any claims for damages.




II.     Definitions


        As used in this Order, the following definitions apply to the terms below, without

regard to case, gender, tense, or number:

        A. Deaf Class Members    -   Deaf individuals (1) eligible for or receiving state­

funded services for mental illness, including in state hospitals; or (2) Deaf individuals

awarded Comprehensive Supports Waiver Program ("COMP") funding.




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       B.   DIM! Class Members     -   Deaf individuals eligible for or receiving state funded


services for mental illness, including in state hospitals, who need non-crisis related


therapy or counseling services provided by ASL fluent therapists or counselors or


through the use of interpreters.


       C.   DIDD Class Members     -   Deaf individuals awarded COMP funding.


       D. American Sign Language fluent ("ASL-fluent")           -   The ability to achieve a score


of "Advanced" or higher on the Sign Language Proficiency Interview ("SLPI") or its


predecessor, the Signed Communication Proficiency Interview ("SCPI").


       E. Deafindividual -- Any individual whose hearing is totally impaired or whose


hearing is so seriously impaired as to prohibit the individual from understanding oral


communications spoken in a normal conversational tone. This can be a self-identified


classification regardless of the severity of the hearing loss or mode of manual


communication preferred.


      F. The State -- The State of Georgia.


       G. The Department or DBHDD -- The Georgia Department of Behavioral Health


and Developmental Disabilities, or successor department or agency of the State of


Georgia.


      H. Developmentally Disabled         -   An individual with an intellectual disability


and/or a related condition as those terms are used in 42 C.F.R. § 435.1010.




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      I.    Provider   --   An organization approved by DBHDD to serve individuals with


mental illness and/or developmental disabilities and which has a contract or letter of


agreement or other legal funding arrangement with DBHDD.


       J.   Designated Providers ("DP") - Designated community service boards ("CSB")

with which DBHDD contracts to provide state funded services for mental illness


specifically targeted to D/MI class members. Each county in the State will have at least


one (1) DP designated to provide services for D/MI class members residing in that


county.     A minimum of six (6) DPs will be designated state-wide to provide services for


Deaf D/MI class members.


      K.     Qualified Interpreter -- An interpreter who has:

                1. A current national certification as a sign language interpreter as awarded


       or honored by the Registry of Interpreters for the Deaf, Inc.;


                2. Attended at least forty (40) hours of mental health interpreter training

       administered by a state-operated agency or a nationally recognized mental health


       interpreter training program; and


                3. Verification of participating in at least forty (40) hours of a practicum as

       approved by DBHDD's Deaf Services office.


      L.     Communication Accessible Host Home -- A host home as defined in 0.C.G.A.

§ 37-1-20(18), occupied by one or two DIDD Class Member(s) and staffed according to


the needs identified in the D/DD Class Member's communication assessment that is




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incorporated into the Individual Service Plan ("ISP").


         M.   Communication Accessible Group Home        -   A waiver funded group home


occupied by one to four D/DD Class Members that is staffed according to the needs


identified in the D/DD Class Members' communication assessments that are incorporated


into the ISPs.




III.     Substantive Provisions


         A. DeafServices Office


                 1. DBHDD shall maintain a Deaf Services office ("DS"). DS will have


         statewide monitoring and management of the provision of services to Deaf


         individuals covered by this Order.


                 2. DBHDD shall employ a full-time DS Director ("Director") who reports


         to a director or executive level position that has responsibility for disability


         program services. The Director must be ASL-fluent, have a working knowledge of


         deaf culture, and have at least four (4) years of administrative experience in human


         services, healthcare administration, or related field, or a Ph.D. in the


         aforementioned fields in lieu of such experience.


                 3. DBHDD shall also employ a full-time Community Service Coordinator


         ("CSC") to work under the direct supervision of the Director. The CSC will be


         responsible for statewide coordination of all services provided to Deaf Class




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  Members by DBHDD directly or through its provider network. The minimum


  qualifications for the CSC position shall be a master's degree in a human services


  field such as psychology, counseling, education or social work, with at least two


  (2) years of experience in deaf services delivery. The CSC shall be ASL-fluent and

  have a working knowledge of deaf culture and, preferably, systems theory. Ideally,


  the CSC shall hold a clinical license and be trained to assist with clinical


  supervision.


         4. DBHDD shall employ a full-time Interpreter Coordinator ("IC") to


  coordinate interpreter services for Deaf individuals covered by this Order. The IC


  shall be a QI.


         5. DS will provide monitoring of the provision of services to Deaf


  individuals covered by this order as follows:


                   i. All CSBs will be required starting within six (6) months of the


         effective date of this order to notify DS within two (2) business days of


         initial intake of a Deaf individual.


                   ii. DS will conduct random samples of Deaf individuals covered by


         this Order to ascertain the provision of and access to appropriate


         accommodations;


                   iii. DS will assist the Office of Constituent Services ("CS") in the


         "Complaints and Grievances Regarding Community Services" process set




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        forth inDBHDD Policy No. 19-101; and


               iv. DS will refer to CS all complaints made directly toDS and


        coordinate with CS as needed in compliance with that office's guidelines.


  B. Services for Deaf Class Members:


        1. Communication Assessments


               i. Communication assessments will be completed forDeaf Class


        Members in connection with their entering non-crisis services;


               ii. Communication assessments will be completed forDeaf Class


        Members already approved for non-crisis services or awarded funding for


        COMP services within three years of the effective date of this Order.


               iii. The communication assessment results shall include (but are not


        limited to):


                       a. Determination of any communication limitations;


                       b. Associated reasonable accommodations; and


                       c. Recommendations for type of appropriate and accessible


        group and host home staffing requirements.


               iv. Communication assessors are qualified to do communication


        assessments if they:


                       a. Hold Superior (preferred), or Advanced Plus level on SLPI


               or similar qualification as defined in this Order;




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                        b. Are a clinician, qualified interpreter or visual gestural


                language specialist approved by DS; and


                        c. Have completed DS provided or approved training in


                conducting communication assessments.


                v. A copy of all communication assessment reports will be


         maintained in the DS office. For each new communication assessor, the


         first ten reports will be reviewed by DS for assessment accuracy and


         appropriateness of the recommendations. Ongoing monitoring for quality


         will occur as part of annual performance reviews or more frequently as


         needed based on the skill level and experience of the assessor.


         2. Databases


         Consumer databases will identify the hearing status and communication


  preference of Deaf Class Members.


         3. Crisis Services


         Within one (1) year of the effective date of this Order, providers of crisis


  services will develop plans for the provision of crisis services to Deaf Class


  Members. These plans shall comply with DBHDD policies, as approved by the


  Monitor. DBHDD will require providers to comply with said plans and policies.


         4. State Hospitals


        All Deaf Class members in State hospitals will receive services, including,




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   but not limited to, counseling, and therapy, consistent with their communication


   assessment recommendations as outlined in their ISP.


  C. Services for DIDD Class Members


         1. A communication assessment will be completed in accordance with the


  requirements set forth above in Section III.BJ .


        2. Upon completion of the communication assessment referenced above in


  Section III.BJ., the communication assessor will participate in the following ISP


  meeting to inform the development of the ISP and educate the D/DD Class


  Member and his or her circle of support about the communication results and


  available accommodations and appropriate/accessible host or group homes. The


  DIDD Class Member and his or her circle of support's informed choices will be


  incorporated into the final communication assessment report recommendations


  used to establish the ISP. DS will maintain a database of communication


  accessible host or group homes to provide on request at this meeting. The ISP will


  be used to educate potential service providers regarding implementation of the


  communication assessment findings. Selected providers may be contracted to


  address the needs of the individual as expressed in the ISP.


        3. In addition to the monitoring DS provides, as set forth above in Section


  III.A.5., the Support Coordinator will monitor and advocate for the DIDD Class


  Member, and Department staff will monitor Providers for compliance with




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  implementation of the ISP and, within six (6) months of the effective date of this


  Order, all DD Providers who provide services to a D/DD class member whose ISP


  requires sign language communication will have staff sufficient to meet the


  requirements of the ISP.


            4. The approval process for the COMP waiver for D/DD Class Members


  shall remain in accord with federal law and the model DBHDD uses for all


  developmentally disabled persons awarded COMP funding, as set forth in the


  waiver.


          5. DBHDD will collaborate with organizations committed to advocating for


  Deaf individuals to recruit Providers to serve D/DD Class Members who make the


  informed choice to live in a host or group home.


  D.   Services for DIM! Class Members

          1. Within thirty (30) days of the effective date of this Order, DBHDD,


  through its provider network, will begin providing services to D/MI Class


  Members through the use of ASL-fluent therapists or counselors, case managers,


  and/or interpreters in accordance with the D/MI Class Member's ISP. Initially,


  provision of services will be targeted to the geographic areas with the highest


  concentration of D/MI Class Members and/or in areas where there is an available


  ASL-fluent workforce.




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          2. ASL-fluent therapists or counselors will provide non-crisis related


   outpatient therapy or counseling services to D/MI Class Members. Services may


   be provided through telemedicine if in accordance with the individual's


   preference.


          3. Within two (2) years of the effective date of this order, twenty five


   percent (25%) of the non-crisis-related outpatient mental health therapy or


   counseling services provided to D/MI Class Members by the Department or


   Providers will be provided by ASL-fluent therapists or counselors; within three


   years, forty-five percent (45%) of said services will be provided by ASL-fluent


   therapists or counselors, and within four (4) years, sixty percent ( 60%) of said


   services will be delivered by ASL-fluent therapists or counselors. When an ASL­


  fluent therapist or counselor is unavailable to provide services, DPs will


   coordinate for on-site or remote interpreting services utilizing a list of QI provided


  by DS. Nothing herein shall prevent any D/MI Class Member from continuing to


  receive services from their existing clinician in conjunction with a QI if that is


  their preference.


          4. ASL-fluent case managers will provide case management services and


  coordinate the provision of other needed services for D/MI Class Members.


  Services may be provided through telemedicine provided such service delivery is

  the individual's preference.




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               5. Each DP will be required to employ or contract with ASL-fluent


        therapists or counselors and case managers as needed to provide services to D/MI


        Class Members in the DP's designated service area.


               6. DBHDD will contract with DPs to pay the costs of employing or


        contracting with ASL-fluent therapists and/or counselors and case managers.


               7. DBHDD will employ Qis or pay for QI services used by CSBs and will


        coordinate with CSBs to make interpretative services available as necessary.


               8. DS will determine, on the basis of the request for services, if a QI is


        needed and will coordinate services to meet that need whenever a QI is needed.


        DS will use data from interpreting requests to target recruitment and training of QI


        in geographic areas as needed.




IV.     Public Information and Community Outreach


       DBHDD will continue to provide information about the availability of services for


Deaf individuals through DBHDD's website, provider training opportunities, provider


site visits, stakeholders' meetings (formerly the Deaf Advisory Council) and the Georgia


Crisis and Access Line ("GCAL") website.




V.     Qualified Interpreters


       A. Within three (3) years of the effective date of this Order, and on an ongoing




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basis, the Department and/or Providers shall have as many Qis under contract or


employed to provide sign language interpreting services as may be necessary to fulfill


requests made to DS for interpreting for counseling or therapy services covered in this


order. Within three (3) years, and on an ongoing basis, the Department and/or Providers


shall have at least twelve (12) Qis under contract or employed to provide sign language


interpreting services.


       B. DBHDD will provide ten (10) scholarships per annum for trainees to attend a


DS approved interpreter training program. If more than ten (10) potential trainees


express an interest in the program, DS will select the ten (10) to be awarded the


scholarships.




VI. Responsibilities


       A. DBHDD


       The Department's duties regarding the provision of services covered by this Order


are governed by federal and state law and federal regulations and are not altered by this


Order. The provision of such services by the Department's providers shall be in accord


with the contract, letter of agreement or other funding arrangement, and incorporated


provider manual, between the provider and DBHDD. In addition to monitoring of


providers' provision of services, the Department will take such action as necessary so that


the services are provided. Nothing herein shall abrogate or diminish the Department's




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duties under the ADA or Section 504.


       B. Providers


       The requirements of this Order applicable to Providers will be incorporated into


the service standards of the respective provider manuals of the Department within twelve


(12) months of the effective date of this Order or as soon as practicable, whichever is


shorter.


       C. Monitor


       The Monitor shall be responsible for overseeing implementation and compliance


with the terms of this Order, in accordance with the terms of the Court's Order appointing


him. (Dkt. [166] at 3-4). The Monitor shall have the authority to seek judicial


intervention, direction and modification of this Order, as necessary for compliance with


the terms of this Order.


       D. Plaintiffs' Class Counsel - Fees and Expenses


       Plaintiffs' Class Counsel are entitled to recover from the Department their


reasonable attorneys' fees and expenses incurred in connection with their ongoing


representation of Deaf Class Members, including the enforcement and monitoring of


compliance with this order and the rights of the Deaf Class Members under the ADA and


Section 504. Class Counsel shall submit statements for their fees and expenses to


counsel for the Department from time to time, and said statement shall be paid within


thirty (30) days, except for portions that the Department may object to. The parties will




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confer in good faith efforts to resolve any such objections. A motion for the award of


disputed fees or expenses may be filed only if such other efforts fail.




VII. Release


       Defendants can petition for release from the requirements in this Order within five


(5) years and six (6) months of the effective date of this Order. The Court's decision


whether to continue, vacate, or modify this order will be based on the consideration of all


relevant factors and evidence, including whether there is a need for continued supervision


to ensure compliance with the ADA and Section 504.




VIII. Supersedeas


       This Order supersedes the Court's Order of June 18, 2013 (Dkt. [172]).




Agreed to by:


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